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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                Plaintiff,
                                                               CASE NO: 4:09CR3044
       vs.

RICARDO GONZALES,                                              DETENTION ORDER
              Defendant.


       The defendant is charged with a drug crime under the Controlled Substances Act (21
U.S.C. § 801 et seq.), for which the defendant could be required to serve ten or more years in
prison. On the government's motion, the court held a detention hearing under the Bail Reform
Act, 18 U.S.C. § 3142(f). The court concludes the defendant must be detained pending trial.

        There is a rebuttable presumption that no condition or combination of conditions of
release will reasonably assure the defendant’s appearance at court proceedings and the safety of
the community because there is probable cause to believe the defendant committed a drug crime
under the Controlled Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be
required to serve ten or more years in prison. The defendant has not rebutted this presumption.
        Based on the evidence presented and information of record, the court finds by a
preponderance of the evidence that the defendant's release would pose a risk of nonappearance at
court proceedings, and by clear and convincing evidence that the defendant's release would pose
a risk of harm to the public
        Specifically, the court finds that the defendant has a criminal record which indicates a
propensity to violate court orders; is addicted to or abuses mood-altering chemicals and is likely
to continue such conduct and violate the law if released; was not truthful with pretrial services
during his interview and therefore poses a substantial risk of noncompliance with supervision; is
not a United States citizen and could flee the country before trial; has used aliases in the past;
committed the alleged crime while on supervision; and conditions which restrict Defendant’s
travel, personal contacts, and possession of drugs, alcohol, and/or firearms; require reporting,
education, employment, or treatment; or monitor Defendant’s movements or conduct; or any
combination of these conditions or others currently proposed or available (see 18 U.S.C. §
3142(c)), will not sufficiently ameliorate the risks posed if the defendant is released.
                                 Directions Regarding Detention
        The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of the
United States Court or on request of an attorney for the Government, the person in charge of the
corrections facility must deliver the defendant to the United States marshal for a court
appearance.
       Dated August 11, 2015.                         BY THE COURT:
                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
